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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                                      )
A.G.W., et al.,                                       )
                                                      )
                                                      )
                                      Plaintiffs,     )
                                                      )
                  v.                                  )      No. 1:21-cv-01112-TSC
                                                      )
XAVIER BECERRA, Secretary                             )
of Health and Human Services, et al.,                 )
                                                      )
                                        Defendants.   )
                                                      )



                             STIPULATED VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, all Plaintiffs, all

Defendants, and the Intervenor-Defendant hereby stipulate and agree to the dismissal of all claims,

with each party to bear their own fees and costs.


Dated: July 17, 2024                                  Respectfully submitted,

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